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                                                         Court-Appointed Temporary Receiver for Link Motion
                                                         Inc. Pursuant to The Honorable Judge Victor Marrero of
                                                         the United States District Court, Southern District of New
                                                         York
      322 Eighth Avenue Suite 1704 New York, NY 10001 (212) 523 – 0686 rseiden@seidenlawgroup.com

VIA ECF
Hon. Victor Marrero
United States Courthouse
500 Pearl Street
New York, New York 10007

May 26, 2022

Dear Judge Marrero,

I write pursuant to the Order Granting Preliminary Injunction and Appointing Temporary Receiver
dated February 1, 2019 (the “Order”; ECF 26) to update the Court on material matters concerning
Link Motion Inc. (“LKM”). Specifically, I write to inform the Court that Deutsche Bank Trust
Company Americas (“Deutsche Bank”) has terminated the deposit agreement between LKM and
Deutsche Bank (“Deposit Agreement”), effective on April 20, 2022 (“Termination Date”). Under
the terms of the Deposit Agreement, American Depositary Receipts (“ADRs”) holders have the
right to surrender their ADRs for cancellation and take delivery of the underlying American
Depositary Shares of LKM (“ADS”) up until six (6) months after the Termination Date, i.e.,
October 20, 2022. If the ADR holders do not surrender their ADRs by October 20, 2022, Deutsche
Bank will thereafter have the right to sell the underlying ADS and hold uninvested the net proceeds
of any such sale, without liability for interest.1

As of late multiple ADR holders have contacted my office seeking permission and guidance on
how to convert their ADRs into common stock of LKM. Pursuant to Judge Freeman’s report and
recommendation to preserve the status quo (ECF 275), my office has not taken any actions other
than to inform these parties that the Receiver does not view any attempt to convert their interests
as “preserving the status quo.” As such, I will follow the Court’s guidance as to actions that the
Receiver should take (if any) in light of Judge Freeman’s report and recommendation and the best
interests of LKM’s ADRs holders.

Thank you for your time and assistance with this matter. Please do not hesitate to contact me
via email or telephone if your Honor wishes to discuss this matter in further detail.




                                                            Robert W. Seiden, Esq.
                                                            Court-Appointed Temporary Receiver
                                                            for Link Motion Inc.



1
 See Article 22 of the Deposit Agreement between LKM (Netqin Mobile Inc.) and Deutsche Bank, available at
https://sec.report/Document/0000950127-11-000101/.
